Filed 09/05/23                                        Case 23-02064                                                Doc 6

        B2500A (Form 2500A) (12/15)



                                      United States Bankruptcy Court
                                                      District Of
        In re                                     ,          )       Case No.
                         Debtor                              )
                                                             )       Chapter
                                                             )
                                                             )
                         Plaintiff                           )
                                                             )
                         v.                                  )       Adv. Proc. No.
                                                             )
                                                             )
                         Defendant                           )


                                  SUMMONS IN AN ADVERSARY PROCEEDING

        YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
        this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
        summons, except that the United States and its offices and agencies shall file a motion or answer to the
        complaint within 35 days.

                         Address of the clerk:



        At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                         Name and Address of Plaintiff's Attorney:



        If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


        IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
        TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
        AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
        DEMANDED IN THE COMPLAINT.


                                                                                (Clerk of the Bankruptcy Court)

                 Date:                                 By:                            (Deputy Clerk)
Filed 09/05/23                                          Case 23-02064                                                 Doc 6

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                                            CERTIFICATE OF SERVICE

               I,                                       (name), certify that service of this summons and a copy of
        the complaint was made                                   (date) by:

                       Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
                        to:



                       Personal Service: By leaving the process with the defendant or with an officer or agent
                        of defendant at:



                       Residence Service: By leaving the process with the following adult at:



                       Certified Mail Service on an Insured Depository Institution: By sending the process by
                        certified mail addressed to the following officer of the defendant at:



                       Publication: The defendant was served as follows: [Describe briefly]



                       State Law: The defendant was served pursuant to the laws of the State of               , as
                        follows: [Describe briefly]



                 If service was made by personal service, by residence service, or pursuant to state law, I further
        certify that I am, and at all times during the service of process was, not less than 18 years of age and
        not a party to the matter concerning which service of process was made.

                 Under penalty of perjury, I declare that the foregoing is true and correct.


                 Date                       Signature

                        Print Name:

                        Business Address:
